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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: NATIONAL FOOTBALL LEAGUE
 PLAYERS’ CONCUSSION INJURY                       No. 12-md-2323 (AB)
 LITIGATION
                                                  MDL No. 2323

 This Document Relates To:
                                                  Hon. Anita B. Brody
 Dameane Douglas et al. v. National               Hon. David Strawbridge
 Football League

 Case No. 2:13-cv-04535-AB


                              NOTICE OF ATTORNEY’S LIEN

       Pursuant to Rules of Procedure, and the executed Retainer Agreement dated July 29, 2013,

Petitioners Anthony Tarricone of KREINDLER & KREINDLER LLP AND Sol H. Weiss of

ANAPOL WEISS LLP attorneys for Plaintiff in the above-entitled action, Dameane Douglas,

hereby notify this Court and all parties that they have an attorneys’ fee lien in this case for

reasonable and agreed upon attorney’s fees, plus expenses, as set forth in the accompanying

Petition to Establish Attorney’s Fee Lien.


Dated: September 22, 2017
                                                    Respectfully Submitted,
                                                    KREINDLER & KREINDLER LLP

                                                    _/s/ Anthony Tarricone_______
                                                    855 Boylston Street
                                                    Suite 1101
                                                    Boston, MA 02116
                                                    Phone: 617-424-9100
                                                    Fax: 617-424-9120
                                                    atarricone@kreindler.com

                                                          -and-




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                                   ANAPOL WEISS LLP
                                   Sol H. Weiss, Esquire (I.D. 15925)
                                   One Logan Square, 130 North 18th Street
                                   Suite 1600
                                   Philadelphia, Pennsylvania 19103
                                   (215) 735-1130 Telephone
                                   (215) 875-7700 Facsimile
                                   sweiss@anapolweiss.com

                                          -and-

                                   KYROS LAW OFFICE
                                   Konstantine Kyros
                                   17 Miles Rd.
                                   Hingham, MA 02043
                                   (800) 934-2921
                                   kon@kyroslaw.com




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                                CERTIFICATE OF SERVICE

       It is hereby certified that a true and correct copy of the foregoing Notice of Attorney’s Lien

was served electronically via the Court’s electronic filing system on the 22nd day of September

2017, upon all counsel of record.

Dated: September 22, 2017

                                                     _/s/ Anthony Tarricone_______
                                                     KREINDLER & KREINDLER LLP
                                                     855 Boylston Street
                                                     Suite 1101
                                                     Boston, MA 02116
                                                     Phone: 617-424-9100
                                                     Fax: 617-424-9120
                                                     atarricone@kreindler.com




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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: NATIONAL FOOTBALL LEAGUE
 PLAYERS’ CONCUSSION INJURY                            No. 12-md-2323 (AB)
 LITIGATION
                                                       MDL No. 2323

 This Document Relates To:
                                                       Hon. Anita B. Brody
 Dameane Douglas et al. v. National                    Hon. David Strawbridge
 Football League

 Case No. 2:13-cv-04535-AB


                      PETITION TO ESTABLISH ATTORNEY’S LIEN

          AND NOW come Petitioners Anthony Tarricone of KREINDLER & KREINDLER LLP

and Sol H. Weiss of ANAPOL WEISS LLP, pursuant to an executed Retainer Agreement to

Petition to Establish Attorney’s Lien and state as follows:

          1.   Petitioner Anthony Tarricone is an attorney admitted to practice before the courts

of Massachusetts, and various other courts.

          2.   Petitioner Sol H. Weiss is attorney admitted to practice in the United States District

Court for the Eastern District of Pennsylvania, the Pennsylvania Supreme Court, and various other

courts.

          3.   Collectively Petitioners file this Petition to establish a lien for attorney’s fees as set

forth hereinafter.

          4.   On or about July 29, 2013, Petitioners Kreindler & Kreindler LLP were retained by

Plaintiff Dameane Douglas, pursuant to a Retainer Agreement for legal services to pursue a claim

for injuries and damages allegedly caused by the National Football League’s conduct associated

with football related concussions, head and brain injuries.



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       5.      The Retainer Agreement provided for a contingency fee of thirty-three and one

third percent (33 1/3 %) of the Client-Plaintiff’s recovery. (NFL Retainer Agreement, attached

hereto as Exhibit A). The Agreement also provided that Petitioners would advance all costs and

disbursements necessary to prosecute Plaintiff’s claim and that such expenses would be

reimbursed from the proceeds of any amount recovered. (Id.).

       6.      After being retained by Plaintiff, Mr. Tarricone associated with Mr. Weiss and his

firm to act as local counsel in aiding them to file suit in the Eastern District of Pennsylvania.

       7.      When Petitioners entered into this Agreement/contract with Plaintiff, Petitioners

entered into the risk and expense of the litigation before any settlement discussion had been held.

       8.      Pursuant to the Retainer Agreement, on August 6, 2013, the Petitioners filed a suit

on Plaintiff’s behalf as part of the case captioned Dameane Douglas et al. v. National Football

League, Case No. 12-cv-03693-AB, in the Eastern District of Pennsylvania. On August 9, 2013,

Petitioners filed a short form complaint (Doc. No. 2) on behalf of Plaintiff.

       9.      From the date Petitioners were authorized to proceed on behalf of the Plaintiff, the

Petitioners have actively and diligently investigated, prepared, and pursued Plaintiff’s claims, and

has taken all steps necessary to prosecute those claims, including, but not limited to,

correspondence and communications with the client, preparation and review of client’s factual,

medical and legal circumstances, drafting documents and providing client updates.

       10.     Throughout this litigation, two of Petitioners have served and continue to serve on

the Plaintiffs’ Steering Committee, which has inured to the Plaintiffs’ benefit.

       11.     The Petitioners voluntarily reduced the contingent fee percentage from thirty-three

and one third percent (33 1/3 %) to twenty-three percent (23%) of the net recovery because of the




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Petitioners’ expectation to receive a common benefit fee, as well as the fact that the case had

resulted in an administrated settlement.

        12.     On March 10, 2017, the Petitioners received notice from Plaintiff that he was

discharging Petitioners as his attorneys in this matter and that the Petitioners should take no further

action on his behalf. It is expected that a new attorney will be pursuing representation of the

Plaintiff in this action.

        13.     Petitioners were not terminated due to any malfeasance or other improper action.

        14.     The Petitioners claim the right to have a lien for attorneys’ fees and expenses

established and enforced upon the sums to be obtained by Plaintiff in this action.

                            [Remainder of Page Intentionally Left Blank]




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      WHEREFORE, the Petitioners pray:

          1. That an attorney’s lien be established;

          2. That the amount of the lien be determined;

          3. That the Court order that Petitioner be entitled to enforce an attorney’s lien against
             the proceeds to be derived from any settlement or judgment in this action;

          4. That the Claims administrator retain 23% of an award for payment of attorneys’ fees
              which includes the 5% hold back to co-lead class counsel for future work on
              settlement implementation.

Dated: September 22, 2017
                                                    Respectfully Submitted,
                                                    KREINDLER & KREINDLER LLP

                                                    _/s/ Anthony Tarricone_______
                                                    855 Boylston Street
                                                    Suite 1101
                                                    Boston, MA 02116
                                                    Phone: 617-424-9100
                                                    Fax: 617-424-9120
                                                    atarricone@kreindler.com

                                                            -and-


                                                    ANAPOL WEISS LLP
                                                    Sol H. Weiss, Esquire (I.D. 15925)
                                                    One Logan Square, 130 North 18th Street
                                                    Suite 1600
                                                    Philadelphia, Pennsylvania 19103
                                                    (215) 735-1130 Telephone
                                                    (215) 875-7700 Facsimile
                                                    sweiss@anapolweiss.com

                                                            -and-

                                                    KYROS LAW OFFICE
                                                    Konstantine Kyros
                                                    17 Miles Rd.
                                                    Hingham, MA 02043
                                                    (800) 934-2921
                                                    kon@kyroslaw.com



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                                CERTIFICATE OF SERVICE

       It is hereby certified that a true and correct copy of the foregoing Petition to Establish

Attorney’s Lien was served electronically via the Court’s electronic filing system on the 22nd day

of September 2017, upon all counsel of record.

Dated: September 22, 2017


                                                     _/s/ Anthony Tarricone_______
                                                     KREINDLER & KREINDLER LLP
                                                     855 Boylston Street
                                                     Suite 1101
                                                     Boston, MA 02116
                                                     Phone: 617-424-9100
                                                     Fax: 617-424-9120
                                                     atarricone@kreindler.com




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       EXHIBIT “A”
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